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SOUTHERN DISTRICT OF NEW YORK

Kell Prone

(Full name(s) of th plaintiff or petitioner applying (each person
must submit a s@pdrate application)

 

 

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-against- (Enter case number and initials of assigned judges, if
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Re Leave Aw Var, b B\lomer, ROX ma\ ah
(Full name(s) of t the defendant(s)/respondent(s). 'Cit\- 4. yo WX ays

APPLICATION TO PROCEED WITHOUT PREPAYING FEES OR COSTS

 

 

1 am a plaintiff/petitioner in this case and declare that I am unable to pay the costs of these proceedings and
I believe that I am entitled to the relief requested in this action. In support of this application to proceed in
forma pauperis (“IFP”) (without prepaying fees or costs), [ declare that the responses below are true:

1. Are you incarcerated? [|] Yes ML No (If “No,” go to Question 2.)
I am being held at:

 

Do you receive any payment from this institution? [[] Yes ‘GO No

Monthly amount:

If | am a prisoner, see 28 U.S.C. § 1915(h), I have attached to this document a “Prisoner
Authorization” directing the facility where I am incarcerated to deduct the filing fee from my account

in installments and to send to the Court certified copies of my account statements for the past six
months. See 28 U.S.C. § 1915(a)(2), (b). I understand that this means that I will be required to pay the

full filing fee.

2. Are you presently employed? [] Yes Ni No
If “yes,” my employer’s name and address are:

Gross monthly pay or wages: \ UO WO ) Vv lve N53) sta

If “no,” what was your last date of employment?

 

 

Gross monthly wages at the time:

 

3. In addition to your income stated above (which you should not repeat here), have you or anyone else
living at the same residence as you received more than $200 in the past 12 months from any of the

following sources? Check all that apply.

(..) Business, profession, or other self-employment [1 Yes No
(0) Kor. payments, interest, or dividends [-] Yez No

SDNY ev: 12/12/2014
(c) Pension, annuity, or life insurance payments [1 Yes No
(d) Disability or worker’s compensation payments [] Yes No
(e) Gifts or inheritances C1 Yes No

(f) Any other public benefits (unemployment, social security, W Yes Cl No
food stamps, veteran’s, etc.)

(g) Any other sources L] Yes. a No

If you answered “Yes” to any question above, describe below or on separate pages each source of
money and state the amount that you received and what you expect to receive in the future.

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If you answered “No” to all of the questions above, explain how you are paying your expenses:

4. How much money do you have in cash or in a checking, savings, or inmate account?

5. Do you own any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other

financial instrument or thing of value, including any item of value held in someone else’s name? If so,
describe the property and its approximate value: .

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6. Do you have any housing, transportation, utilities, or loan payments, or other regular monthly
expenses? If so, describe and provide the amount of the monthly expense:

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7. List all people who are dependent on you for support, your relationship with each person, and how
much you contribute to their support (only provide initials for minors under 18):

8. Do you have any debts or financial obligations not described above? If so, ‘yf the amounts owed

| and to whom they are payable: S OW. ~~ ay Ovny DANS )
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Declaration. | declare under penalty of perjury that the above information is true. I understand that a false
statement may result in a dismissal of my claims.

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Name (Last, First, MI) .

. Prison Identification # (if incarcerated
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Telephone Number Emel Address (if available) J

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